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                                                        Pa.
                /s/ Ryan B. Smith




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                                                                /s/ Ryan B. Smith




                                                                  Aug. 21, 2020
